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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION




UNITED STATES OF AMERICA,                      :     CASE NO.        1:06-cr-00565
                                               :
                      Plaintiff,               :     JUDGE LESLEY WELLS
                                               :
               v.                              :
                                               :     MAGISTRATE JUDGE
LEEVON THOMAS,                                 :     NANCY A. VECCHIARELLI
                                               :
                      Defendant.               :     REPORT & RECOMMENDATION



       Pursuant to General Order 99-49, this matter has been referred to United States

Magistrate Judge Nancy A. Vecchiarelli for purposes of receiving, on consent of the parties, the

defendant’s offer of a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11,

causing a verbatim record of the proceedings to be prepared, referring the matter, if appropriate,

for presentence investigation, and submitting a Magistrate Judge’s Report and Recommendation

stating whether the plea should be accepted and a finding of guilty entered. The following, along

with the transcript or other record of the proceedings submitted herewith, constitutes the

Magistrate Judge’s Report and Recommendation concerning the plea of guilty proffered by the

defendant.

       1.      On July 10, 2007, the defendant, accompanied by counsel, proffered a plea of

               guilty to count 1 of the indictment based upon the drug quantities set forth in the

               plea agreement, that is, conspiracy to distribute at least 250 milligrams but less
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              than 500 milligrams of cocaine base. The Government agrees to move the Court

              to dismiss count 24 of the indictment at the time of sentencing.

       2.     Prior to such proffer, the defendant was examined as to his competency, advised

              of the charge and consequences of conviction, informed that the Federal

              Sentencing Guidelines are advisory and the Court must consider them but the

              Court may impose any reasonable sentence authorized by law, notified of his

              rights, advised that he was waiving all his rights except the right to counsel and

              otherwise was provided with the information prescribed in Fed. R. Crim. P. 11.

       3.     The parties and counsel informed the court about the plea agreement between the

              parties; the undersigned was advised that, aside from such agreement as described

              or submitted to the court, no other commitments or promises have been made by

              any party, and no other agreements, written or unwritten, have been made

              between the parties.

       4.     The undersigned questioned the defendant under oath about the knowing,

              intelligent, and voluntary nature of the plea of guilty, and finds that the defendant

              was competent to enter a plea and the plea was offered knowingly, intelligently,

              and voluntarily.

       5.     The parties provided the undersigned with sufficient information about the

              charged offense(s) and the defendant’s conduct to establish a factual basis for the

              plea.

       In light of the foregoing and the record submitted herewith, the undersigned finds that the

defendant’s plea was knowing, intelligent, and voluntary, and all requirements imposed by the


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United States Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the

undersigned recommends that the plea of guilty be accepted and a finding of guilty be entered by

the Court.



                                                    s/ Nancy A. Vecchiarelli
                                                    NANCY A. VECCHIARELLI
                                                    UNITED STATES MAGISTRATE JUDGE



DATE: July 10, 2007



                                           NOTICE
       Any objections to this Report and Recommendation must be filed with the Clerk of
Courts within ten (10) days of this notice. Failure to file objections within the specified
time may waive the right to appeal the District Court’s order. see, United States v. Walters,
638 F.2d 947 (6th Cir. 1981). See, also, Thomas v. Arn, 474 U.S. 140 (1985), reh’g denied,
474 U.S. 1111 (1986).




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